                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
v.                                        )      Case No. 4:13-CR-00291-03-BCW
                                          )
T. CAMERON JONES,                         )
                                          )
                        Defendant.        )

                                         ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation (Doc.

#255) denying Defendant T. Cameron Jones’ Motion to Suppress Statements of Jim Aboud

(Doc. #238). After an independent review of the record, the applicable law, and the parties’

arguments, the Court adopts Magistrate Judge Hays’ findings of fact and conclusions of law.

Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #255),

Defendant T. Cameron Jones’ Motion to Suppress Statements of Jim Aboud (Doc. #238) is

DENIED. It is further

       ORDERED that Magistrate Judge Hays’ Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.




DATED: February 10, 2015                         /s/ Brian C. Wimes
                                                 JUDGE BRIAN C. WIMES
                                                 UNITED STATES DISTRICT COURT




      Case 4:13-cr-00291-BCW         Document 307      Filed 02/10/15    Page 1 of 1
